
11 N.Y.2d 680 (1962)
In the Matter of Raymond Goglas, as Guardian ad Litem of Raymond Goglas, Jr., an Infant, Appellant,
v.
New York City Housing Authority, Respondent.
Court of Appeals of the State of New York.
Argued January 10, 1962.
Decided January 25, 1962.
Benjamin Weinberger and Marcus Schoenfeld for appellant.
John Nielsen and Francis P. Cunnion for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Order affirmed, without costs; no opinion.
